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           IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:98CR126
                              )
          v.                  )
                              )
MIGUEL CALDERIN-RODRIQUEZ,    )               MEMORANDUM OPINION
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on a motion by

defendant Miguel Calderin-Rodriquez to “dismiss the firearm,”

pursuant to Fed.R.Civ.P. 60(b) and (A)(5) (Filing No. 707 at 1).

           The defendant has previously filed three separate

§ 2255 motions in 2001 and 2002 (Filing Nos. 493 and 531).

Defendant then filed a Rule 60(b) motion in 2004 (Filing No. 585)

which this Court interpreted as a § 2255 motion (Filing No. 587).

This Court has denied all three motions (Filing Nos. 502, 540,

and 587 respectively).     Defendant had an appeal to the Eighth

Circuit (United States v. Calderin-Rodriguez (sic), 244 F.3d 977

(8th Cir. 2001).    Now, defendant brings his fourth motion which

the Court will deny.

           Because the defendant has filed a Rule 60(b) motion

after three denied § 2255 motions, this Court must briefly review

the defendant’s current motion to determine if it is essentially

a successive collateral attack under 28 U.S.C. § 2255.               See Boyd

v. United States, 304 F.3d 813, 814 (2002).            Under this analysis,
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successive motions are those which contain one or more assertions

of relief from a conviction, such as a new ground for relief and

attacks of the resolution of the claim on the merits.               United

States v. Mull, 2007 WL 3355561, at *1 (D. Neb. Nov. 7, 2007)

(citing Gonzalez v. Crosby, 545 U.S. 524, 530, 532 (2005)).                 The

Alleyne argument is a new claim under § 2255 analysis.

                        ALLEYNE V. UNITED STATES

           The defendant relies upon Alleyne to argue that his

sentence violated his constitutional rights.            The Court in

Alleyne determined that any factor which would increase either

the statutory mandatory minimum or maximum sentence must be

submitted to a jury.      Alleyne v. United States, — U.S. —, 133

S.Ct. 2151, 2155 (2013) (citing Apprendi v. New Jersey, 530 U.S.

466, 483, n.10, 490 (2000)).        In 1999, the defendant faced a

mandatory minimum of 10 years (120 months) and a maximum of life

in prison solely for his conviction under 21 U.S.C. § 846.                 This

Court sentenced him to 225 months and made no determination which

disturbed his minimum or maximum sentence.            Defendant’s new

argument is without merit.      Since his Rule 60(b) motion

ultimately seeks to assert a habeas claim, the Court finds that

it is a § 2255 motion.

                        SUCCESSIVE § 2255 MOTIONS

           After filing an initial § 2255 motion, applicants must

move in the appropriate court of appeals for an order authorizing


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the district court to consider the successive motion.               See 28

U.S.C. § 2244(b)(3)(A).      The defendant has not sought

authorization from the Eighth Circuit.          Therefore, the Court will

dismiss his claim.      A separate order will be entered in

accordance with this memorandum opinion.

           DATED this 22nd day of August, 2013.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court




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